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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 STUDENTS FOR JUSTICE IN
 PALESTINE AT PITT,

                                Plaintiff,

        v.                                             CIVIL ACTION NO. 2:25-CV-00524

 UNIVERSITY OF PITTSBURGH; JOAN
 GABEL, MARLIN NABORS, KARIN
 ASHER, DaVAUGHN VINCENT-
 BRYAN, MATTHEW LANDY, and                             Judge J. Nicholas Ranjan
 JAMEY MENTZER, all in their official
 and individual capacities,

                                Defendants.



                      MOTION FOR LEAVE TO FILE EXCESS PAGES

       Plaintiff Students for Justice in Palestine at Pitt, by and through counsel, files this Motion

for Leave to File Excess Pages. Following the joint proposed briefing schedule submitted by the

parties on June 26, 2025, this Court ordered Plaintiff to file it’s Brief in Support of Plaintiff’s

Revised Motion for Preliminary Injunction by July 11, 2025. ECF No. 43. Under this Court’s

Practices and Procedures (rev. 4/23/25), briefs may not exceed 20 pages unless otherwise

ordered by the Court. Plaintiff seeks a modest 5-page increase of this page limit for the brief and

Defendants’ response. Defendants consent to the proposed page-limit increases.

       Plaintiff submits that the issues presented in the parties’ preliminary injunction briefs are

substantial, requiring significant review of the facts at issue and the developments that have

taken place since Plaintiff filed its initial preliminary injunction motion. Plaintiff has heeded this

Court’s stated brief-writing preferences and endeavored to be efficient and succinct in addressing

all factual and legal issues. Plaintiff respectfully submits that a 5-page increase in the page limit

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for briefs and responses would permit a more fulsome presentation of the facts, relevant legal

authorities, and the parties’ analyses thereof, with the goal of aiding this Court in the most

efficient resolution of the issues.

        Plaintiff therefore respectfully requests that the Court grant this Motion and issue an

Order permitting the parties to file a brief or response, respectively, of up to 25 pages. Plaintiff’s

brief in support of its revised motion for preliminary injunction is attached hereto as Exhibit A.

A Proposed Order is also submitted for this Court’s consideration.



Dated: July 11, 2025                           Respectfully Submitted,


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